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                                        U.S. Department of Justice


                                        United States Attorney
                                        Eastern District of New York

TM                                      271 Cadman Plaza East
F.#2007R00128                           Brooklyn, New York 11201

                                        May 19, 2008

Via ECF & Hand Delivery

The Honorable Raymond J. Dearie
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

           Re:   United States v. Vito Rappa
                 Criminal Docket No. 07-056 (RJD)

Dear Judge Dearie:

          The government respectfully submits this letter in
anticipation of sentencing in the above-referenced case. The
defendant is scheduled to be sentenced on May 29, 2008.

                                BACKGROUND

          As set forth in the Pre-Sentence Investigation Report
(“PSR”), the defendant Vito Rappa has pled guilty to one count of
official bribery, relating to a scheme to effect the release from
custody of co-defendant Francesco Nania. This case arose from an
investigation into the crew of Gambino organized crime family
(“Gambino family”) captain George DeCicco, after an individual in
his crew decided to cooperate with the government (“CW #1”).
With respect to the instant count of conviction, defendant Vito
Rappa and co-defendants Gambino soldier Joseph Orlando, Joseph
Zuccarello and Francesco Nania engaged in a conspiracy to bribe
and attempted to bribe an individual they believed to be CW #1’s
corrupt law enforcement contact in United States Immigration and
Customs Enforcement (“ICE”). The purpose of the bribery scheme
was to effect Francesco Nania release from immigration detention.
See PSR ¶¶ 20-22.

          The tape recordings made by CW #1 included dozens of
recordings of Vito Rappa and others, including discussions
regarding the offense of conviction and the defendant’s
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background.1 The tape recordings also included conversations
involving the defendant where he provided encouragement and
support to the conspirators involved in the trip taken by Joseph
Orlando, Joseph Zuccarello and CW #1 to Las Vegas for the purpose
of attempting to collect a debt, which conduct forms the basis
for racketeering act seven. See generally PSR ¶ 21.

          On November 19, 2007, Rappa pled guilty to official
bribery in violation of 18 U.S.C. § 201(b) pursuant to a written
plea agreement. As estimated in his plea agreement (attached
hereto, but not filed electronically), the government’s estimate
of the advisory Guidelines range applicable to Rappa recommends a
term of imprisonment of 15 to 21 months. The Probation
Department has a different estimate, recommending that the Court
find that the advisory Guidelines range applicable to Rappa is 18
to 24 months, due to Probation’s objection to the one-level
“global point” recommended by the government. See PSR ¶ 106.

                                 ARGUMENT

I.   Legal Standard

          In the Supreme Court’s opinion in United States v.
Booker, 125 S. Ct. 738, 743 (2005), which held that the
Sentencing Guidelines are advisory not mandatory, the Supreme
Court made clear that district courts are still “require[d] . . .
to consider Guidelines ranges” in determining sentence, but also
may tailor the sentence in light of other statutory concerns.
See 18 U.S.C. § 3553(a).

          Most recently, in Gall v. United States, 128 S. Ct. 586
(2007), the Supreme Court elucidated the proper procedure and
order of consideration for sentencing courts to follow: “[A]
district court should begin all sentencing proceedings by
correctly calculating the applicable Guidelines range. As a
matter of administration and to secure nationwide consistency,
the Guidelines should be the starting point and the initial


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        Because of this large volume of recorded evidence, the
defendant’s claim that there is “no evidence whether direct or
circumstantial that Mr. Rappa was mentioned or participated in
any of the hundreds of hours of conversations between organized
crime members and associates between 2006 and 2007” is entirely
erroneous. See Rappa Ltr. to USPO Patricia A. Sullivan (dated
February 20, 2007). On the contrary, the government is in
possession of countless hours of recordings involving Mr. Rappa
and numerous members and associates of organized crime.
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benchmark.” Gall, 128 S. Ct. at 596 (citation omitted). Next, a
sentencing court should “consider all of the § 3553(a) factors to
determine whether they support the sentence requested by a party.
In so doing, he may not presume that the Guidelines range is
reasonable. He must make an individualized assessment based on
the facts presented.” Id. at 596-97 (citation and footnote
omitted).

II.   The Court Should Sentence the Defendant Within the Advisory
      Guideline Range Estimated in the Plea Agreement

          The defendant advocates for a non-Guidelines sentence,
based principally on two arguments. First, the defendant argues
that his involvement in the instant offense was aberrational.
Second, he contends that he should be afforded a three-level
deduction in the Guidelines for a minimal role in the offense.
For the reasons set forth below, these arguments are without
merit. In addition, an evaluation of the Section 3553(a) factors
in this case strongly suggests a need for a sentence of
imprisonment based on the nature of the offense and the need for
the sentence imposed to afford just punishment and to promote
deterrence and respect for the law.

      A.   The Defendant’s “Aberrant Behavior” Claim is
           Without Merit

          Section 5K2.20 of the Sentencing Guidelines provides,
in pertinent part, that “a downward departure may be warranted in
an exceptional case if (1) the defendant’s criminal conduct meets
the requirements of subsection (b); and (2) the departure is not
prohibited [under this section].” In turn, subsection (b) states
that “[t]he court may depart downward under this policy statement
only if the defendant committed a single criminal occurrence or
single criminal transaction that (1) was committed without
significant planning; (2) was of limited duration; and (3)
represents a marked deviation by the defendant from an otherwise
law-abiding life.” U.S.S.G. § 5K2.20(b). In promulgating
Section 5K2.20, the Sentencing Commission noted that, “[a]s a
threshold matter, this amendment provides that departure is
available only in an extraordinary case.” United States v.
Gonzalez, 281 F.3d 38, 44 (2d Cir. 2002) (quotation omitted).

          Although the policy statement embodied under Section
5K2.20 is admittedly advisory, the Court is required to consider
such policy statements, 18 U.S.C. § 3553(a)(5)(A), and in this
instance, the policy statement is instructive. This is not “an
exceptional case” where the defendant’s criminal conduct can
fairly be described as aberrant.
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          As set forth in the PSR, the defendant’s behavior
involved several weeks of planning and meetings, and the
provision of approximately $70,000 to a soldier in the Gambino
family for the purpose of effecting Francesco Nania’s release
from immigration detention. PSR ¶¶ 14-16, 29. Contrary to the
defendant’s assertion that this was aberrant behavior, the record
clearly demonstrates that he was engaged in a complex pre-
meditated scheme involving multiple participants. The crime here
thus involved significant planning and was not of limited
duration. See U.S.S.G. § 5K2.20(b). Finally, it does not
represent a “marked deviation” from an otherwise law-abiding
life. See id. To the contrary, over the course of the
government’s investigation, Rappa was captured on tape by CW #1
in dozens of recordings, including recordings where Rappa
encouraged the participants in the extortion conspiracy charged
in racketeering act seven of Count One of the indictment.
Accordingly, and for the reasons discussed below, this Court
should not impose a non-Guidelines sentence in this case on the
basis of “aberrant behavior.”

     B.    Rappa is Not Entitled to a Mitigating Role Adjustment

          The defendant next argues that he is entitled to a
three-level downward adjustment for his role in the offense. See
Rappa Ltr. to USPO Patricia Sullivan dated Feb. 20, 2008 & Rappa
Ltr. dated Apr. 24, 2008. He argues that he had a minimal role
in the offense, claiming in his letter to the Probation
Department that he “met the informant and agent approximately one
time and agreed to provide payment if it meant freeing his
brother-in-law from immigration detention.” Rappa Ltr. to USPO
Sullivan at ¶ 5. The claim that Rappa met regarding this scheme
“approximately one time” is entirely false. As discussed above,
Rappa met and spoke with CW #1, Zuccarello, Orlando and others
dozens of times during the government’s investigation. In
addition, the evidence shows that Rappa was the source of the
$70,000 in bribe money that was paid to Joseph Orlando, which
money was intended for CW #1’s corrupt ICE contact.

          Under circumstances where a defendant was actively
involved in meetings regarding the scheme and provided the
funding for the very crime at issue -- official bribery -- a
mitigating role adjustment is wholly inappropriate. See U.S.S.G.
§ 3B1.2 & Application Notes. See also PSR ¶ 29 (explaining the
Probation Department’s rationale for denying Rappa a mitigating
role adjustment).
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     C.    Factors of 18 U.S.C. § 3553(a)

           1.    History and Circumstances of the Offense

          As detailed above and in the PSR, Rappa was an active
participant in the crime of conviction. In his submission, the
defendant contends that he is “sincerely remorseful and contrite”
and requests a sentence of probation. (Rappa Ltr. dated April
24, 2008 at 3, 5). Given the serious nature of the underlying
offense and the defendant’s active role in it, however, the
history and characteristics of the offense weigh in favor of a
sentence within the advisory guideline range for the purposes of
punishment and promoting general and specific deterrence. See 18
U.S.C. § 3553(a)(1), (a)(2)(A) & (a)(2)(B).

           2.    The Need for the Sentence Imposed

          The defendant asserts in his letter, without analysis,
that a sentence of probation “is the just punishment for this
offense” and that further punishment is not needed for the
purposes of deterrence or to protect the public. (Rappa Ltr.
dated April 24, 2008 at 5). As discussed above, however, the
defendant’s criminal conduct was serious and a sentence of
incarceration is appropriate in order to “reflect the seriousness
of the offense, to promote respect for the law, and to provide
just punishment for the offense.” 18 U.S.C. § 3553(a)(2)(A).
Indeed, a sentence of probation for a $70,000 attempted bribery
of a federal official could risk promoting disrespect for the
law. See, e.g., United States v. Cutler, 520 F.3d 136, 154 (2d
Cir. 2008) (concluding that the district court made errors in
certain “Guidelines applications and in its departure decisions;
that the sentences imposed did not properly interpret certain of
the sentencing factors that the court was required to consider
under 18 U.S.C. § 3553(a), such as just ‘punishment’ and
deterrence of others; and that some of the court’s rationales
would promote disrespect for the law”).
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                                CONCLUSION

          For the foregoing reasons, the defendant should be
sentenced to a term of incarceration within the advisory
Guidelines range estimated in the plea agreement.

                                         Respectfully submitted,

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                                         United States Attorney


                                   By:   ________________________
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cc:   Paul Bergrin, Esq. (via ECF, w/o attachment and facsimile)
